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 6

 7 Attorney for Defendant

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        CASE NO. 2:14-CR-00238-GEB

12                                Plaintiff,          STIPULATION REGARDING CONTINUANCE OF
                                                      HEARING ON JUDGMENT AND SENTENCE
13                           v.                       [PROPOSED] FINDINGS AND ORDER

14   RICKY MARTIN HUERTA ,                            DATE: June 12, 2015
                                                      TIME: 9:00 a.m.
15                                Defendants.         COURT: Hon. Garland E. Burrell, Jr.
16

17                                              STIPULATION

18          It is hereby stipulated by and between the UNITED STATES OF AMERICA, by and through,

19 Christiaan H. Highsmith, Assistant United States Attorney, and Ricardo Hernandez counsel for

20 Defendant Ricky Martin Huerta, that the hearing on Judgment and Sentence currently set for May 1,

21 2015, be vacated and reset for June 12, 2015 at 9:00 a.m.

22          The continuance of the Judgment and Sentence is necessary because the defense counsel has had

23 conflicts and the PSR interview was recently conducted and additional time is necessary for the PSR

24 report to be completed.

25
     Dated: April 24, 2015                                 BENJAMIN B. WAGNER
26                                                         United States Attorney

27                                                         /s/ CHRISTIAAN H.HIGHSMITH
                                                           CHRISTIAAN H.HIGHSMITH
28                                                         Assistant United States Attorney

       STIPULATION RE: CONTINUE SENTENCING;            1
       [PROPOSED] FINDINGS AND ORDER
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             Case 2:14-cr-00238-JAM Document 61 Filed 04/27/15 Page 2 of 2


 1 Dated: April 24, 2015                                   HERNANDEZ LAW OFFICE,
                                                           LLC.
 2                                                         /s/ Ricardo Hernandez
                                                           Ricardo Hernandez
 3                                                         Counsel for Defendant
 4                                                         Ricky Martin Huerta

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 6

 7                                [PROPOSED] FINDINGS AND ORDER

 8        The court having reviewed the records and files herein and considered the

 9        stipulation of the parties, IT IS HEREBY ORDERED

10                1.      The Stipulation for a continuance of Judgment and Sentence is GRANTED.

11                        The sentencing presently set for May 1, 2015 is hereby continued to June 12,

12                        2015 at 9:00 a.m.

13        IT IS SO FOUND AND ORDERED.

14 Dated: April 24, 2015

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      STIPULATION RE: CONTINUE SENTENCING;             2
      [PROPOSED] FINDINGS AND ORDER
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